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              IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF TEXAS
                       HOUSTON DIVISION

UNITED STATES OF AMERICA,                 )

v.                                        )     Case No. 4:12-cr-00503

JASON DANIEL GANDY.                       ) Civil Action No. H-21-662

               MOTION TO WITHDRAW AS COUNSEL

      Attorney Brandon Sample and Brandon Sample PLC respectfully

move to withdraw as counsel for Jason Gandy. Counsel respectfully

submits that good cause for withdrawal because of a conflict created by

statements by Mr. Gandy to the Court in recent filings. (ECF 266 & 269).

Additionally, good cause is present because the 28 U.S.C. § 2255 matter

for which Mr. Sample was retained has been decided and reduced to

judgment. Furthermore, § 2255 cases are civil in nature. United States v.

Young, 966 F.2d 164, 165 (5th Cir. 1992)(60-day period for notice of

appeal applies to § 2255 cases). And there is no right to counsel in post-

conviction proceedings. United States v. Petty, 530 F.3d 361, 366 (5th Cir.

2008). A copy of this motion has been served on Mr. Gandy.




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      Wherefore, premises considered, the Court should grant Mr.

Sample and Brandon Sample PLC leave to withdraw as counsel for Mr.

Gandy.

                                   Respectfully submitted,

                                   /s/ Brandon Sample
                                   Brandon Sample
                                   Brandon Sample PLC
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                                   Washington, DC 20006
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                       CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was served

this 24th day of March 2022, via CM/ECF on all counsel of record.

Additionally, a copy was served via USPS, first class postage prepaid,

March 24, 2022, on:

Mr. Jason Gandy # 73006-279
FEDERAL CORRECTIONAL INSTITUTION
P.O. BOX 5000
TALLAHASSEE, FL 32314
                            /s/ Brandon Sample
                            Brandon Sample




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